Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 1 of 23 PageID #: 1




                                                 3:15-CV-123-MPM-SAA
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 2 of 23 PageID #: 2
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 3 of 23 PageID #: 3
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 4 of 23 PageID #: 4
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 5 of 23 PageID #: 5
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 6 of 23 PageID #: 6
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 7 of 23 PageID #: 7
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 8 of 23 PageID #: 8
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 9 of 23 PageID #: 9
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 10 of 23 PageID #: 10
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 11 of 23 PageID #: 11
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 12 of 23 PageID #: 12
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 13 of 23 PageID #: 13
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 14 of 23 PageID #: 14
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 15 of 23 PageID #: 15
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 16 of 23 PageID #: 16
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 17 of 23 PageID #: 17
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 18 of 23 PageID #: 18
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 19 of 23 PageID #: 19
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 20 of 23 PageID #: 20
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 21 of 23 PageID #: 21
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 22 of 23 PageID #: 22
Case: 3:15-cv-00123-MPM Doc #: 1 Filed: 07/28/15 23 of 23 PageID #: 23
